Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 1 of 32




                              IN THE UNITED STATES DISTRICT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-02872-CMA-NYW

   BONNIE BIRSE AND GERAD DETWILER, on behalf of themselves and all similarly
   situated participants and beneficiaries of the CenturyLink Dollars & Sense 401(K) plan,
          Plaintiffs,
   v.

   CENTURYLINK, INC., and CENTURYLINK INVESTMENT MANAGEMENT COMPANY,
       Defendants.


       MOTION AND MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
        FOR SUMMARY JUDGMENT AS TO DEFENDANTS’ BREACH OF FIDUCIARY
                       DUTY FOR FAILURE TO MONITOR


          CenturyLink and CenturyLink Investment Management Company (“CIM”)

   (collectively, “Defendants”) owed a duty to the Plaintiffs and the Class to ensure that the

   Plaintiffs’ retirement funds were invested in a prudent and appropriate manner. The

   Defendants breached that duty by designing the Active Large Cap U.S. Stock Fund

   (“ALCF,” “Large Cap Fund” or the “Fund”), which mirrored a low-cost index fund, but

   unlike an index fund charged high fees. ¶20.1 The Large Cap Fund underperformed

   immediately and consistently due to its flawed and imprudent design, and CIM failed to

   appropriately monitor and adjust the Fund because it lacked any formal processes or

   guidelines for doing so. CenturyLink, as the plan sponsor and a co-fiduciary, in turn failed

   in its duty to monitor CIM. The Defendants collectively failed to put into place any policies,

   procedures, or processes to guide employees towards prudent decision-making in


   1
     References to “¶__” or “¶¶__” are to paragraphs in the Statement of Facts section
   incorporated below, unless otherwise noted.
                                                 1
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 2 of 32




   creating the Fund, monitoring the Fund or making prudent adjustments as needed. As a

   result, the Plaintiffs and the Class have suffered damages in the form of losses to their

   retirement savings.

          Plaintiffs Bonnie Birse and Gerad Detwiler (“Plaintiffs”), by and through counsel,

   respectfully move this Court for an order granting summary judgment in favor of the

   Plaintiffs against CenturyLink and CIM for Breach of Fiduciary Duty for Failure to Monitor.2

                                        INTRODUCTION

          Under the Employee Retirement Income Security Act of 1974, as amended

   (“ERISA”), 29 U.S.C. §§1001 et seq., CIM breached their fiduciary duties to the

   participants and beneficiaries of the CenturyLink Dollars & Sense 401(k) Plan (the “Plan”),

   by failing to prudently design, manage, operate, monitor, and adjust the Large Cap Fund

   as a Plan investment option. For reasons set forth in this memorandum, the Court should

   grant summary judgment in favor of the Plaintiffs as to Defendant CIM’s breaches of its

   fiduciary duties for failure to prudently design and monitor the Plan, and CenturyLink’s

   breaches in its failure to monitor CIM.

          Plaintiffs bear the burden of proof for breach of fiduciary duty. The elements of the

   claim are (1) the Defendants are plan fiduciaries; (2) the Defendants breached their


   2
     Plaintiffs bring this motion in accordance with the Courts’ Scheduling Order. Dkt. #100,
   April 17, 2019. Currently, the Defendants have not served an answer containing any
   affirmative defenses. Should the Defendants assert any affirmative defenses, the
   Plaintiffs will ask the Court for leave to file for summary judgment on those defenses, if
   appropriate. Additionally, the Court has not yet ruled on Plaintiffs’ Motion for Class
   Certification. Dkt. #126, August 15, 2019 (amended on August 27, 2019 per the Court’s
   request at Dkt. #131). Due to potential issues with the one-way intervention rule, Plaintiffs
   ask the Court to defer ruling on this Motion until after the ruling on class certification and
   any opt-out period has elapsed.
                                                 2
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 3 of 32




   fiduciary duties; and (3) a cognizable loss to the participants or the plan resulted. See 29

   U.S.C. § 1132(a)(2). This memorandum will lay out the proof for each element along with

   undisputed material facts in support of Plaintiffs’ claim.

          Defendants lacked functional processes for nearly every aspect of designing,

   implementing, monitoring and adjusting the Large Cap Fund. ¶37. They had no functional

   or formal guidelines or processes designed to prudently implement the results of their

   research and structure the Fund in a way that could be expected to meet its stated

   objective. Defendants also had no written guidelines or formal processes designed to

   ensure that prudent decisions were made in how many fund managers were used, which

   fund managers were chosen, how managers were to be monitored, how adjustments

   were to be made, or how the long-term strategy was expected to work over the course of

   a “market cycle.” ¶48. Without oversight or written policy guidance, one employee (Paul

   Strong) had unguided and unfettered discretion in management of the Fund. ¶¶65-72, 79.

          CIM further lacked any processes or procedures designed to rigorously evaluate

   the Fund’s original strategy, subsequent changes in strategy, the current business

   market, or economic environment. Nor was there any process to evaluate how the Fund’s

   strategy would be likely to perform in the anticipated upcoming environment. Accordingly,

   CIM failed to rigorously test the fund strategy or the likely performance of the specific

   lineup of managers they chose to manage the Fund’s assets. If they had rigorously tested

   these factors, CIM would have found it had a very low, almost impossible, likelihood of

   achieving the outperformance investment objective. ¶¶55-56.




                                                 3
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 4 of 32




          There is no genuine dispute to the fact that Defendants lacked functional, formal

   or written processes for ensuring prudent decision-making in the creation or

   administration of the Plan. This amounts to a breach of fiduciary duty, as the Plan

   fiduciaries did not act in a manner consistent with fiduciary prudent practice and the best

   interest of participants and beneficiaries. Specifically, Defendants breached their fiduciary

   duties to Plaintiffs by:

          1) failing to adopt and apply an investment policy statement (IPS) for the

          Plan (¶79);

          2) failing to cause CIM to adopt and apply written policies and procedures

          governing the management of the Plan’s investments (¶80);

          3) failing to establish prudent documented investment selection criteria, as

          would be found in an IPS, to be applied on a consistent basis to the selection

          of the Plan’s investments, including the Large Cap Stock Fund, the Target

          Date Funds and investment managers, particularly Cornerstone Investment

          Partners (¶81);

          4) permitting the bias of senior CenturyLink management towards active

          management to influence their investment decisions (¶82);

          5) adopting active investment management strategies without evaluating

          and justifying the additional cost of such strategies in relation to the cost of

          passive investment strategies (¶83);

          6) failing to establish prudent written investment monitoring criteria to be

          applied on a consistent basis to the monitoring of the Plan’s investments,


                                                 4
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 5 of 32




            including the Large Cap Stock Fund, the Target Date Funds, and

            investment managers, particularly Cornerstone Investment Partners (¶84);

            7) failing to apply a prudent monitoring process to the Plan’s investments

            and managers, particularly Cornerstone Investment Partners (¶85);

            8) failing to evaluate and consider alternative strategies and managers

            when the Large Cap Stock Fund experienced consistent underperformance

            relative to applicable benchmarks, (¶86);

            9) failing to maintain minutes of CIM’s investment committee meetings or

            otherwise document deliberations and reasoning for fiduciary decisions;

            ¶¶39, 87).

            10) failing to adopt and consistently apply policies and procedures to

            address funds or strategies that did not meet benchmark expectations or

            exhibited other shortfalls in relation to selection criteria (¶88); and

            11) failing to apply prudent monitoring and oversight of investment activities.

            (¶89).

                                      STATEMENT OF FACTS

        A. Background of the Parties, the Plan, and the Fund

            1.       The CenturyLink Dollars & Sense 401(k) Plan (“the Plan”) is a defined

   contribution plan sponsored by CenturyLink. Movant’s Appx., p. 10 - Exhibit 233 at CL

   00057089.




   3
       “Exhibit” references continuously-numbered Deposition Exhibits offered by the Parties.
                                                   5
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 6 of 32




         2.     “The Plan enables eligible CenturyLink employees to save for retirement by

   investing a portion of their compensation through individual Plan accounts in one or more

   investment funds offered in the Plan’s investment lineup.” Movant’s Appx., p. 43 - Expert

   Report of Roger L. Levy, LLM, AIFA ®, dated October 10, 2019 (“Levy Report”), ¶52.

         3.     At the time of its creation, the Plan had 48,257 participants and $3.4 billion

   in net assets as of December 31, 2012. Movant’s Appx., p. 120 - Form 5500 12/31/12,

   CL00000388.
         4.     As of December 21, 2017, the Plan had 34,274 participants and nearly $5.7

   billion dollars in net assets. Movant’s Appx., pp. 42-43 - Levy Report, ¶51.

         5.     Beginning in April 2012, CIM began offering a new investment lineup which

   included a company stock fund and nine core investment options (“Core Funds”),

   including the Active Large Cap U.S. Stock Fund (“Large Cap Fund”). Movant’s Appx., pp.

   170, 179 - Exhibit 3 at CL 00006607, 16.

         6.     CenturyLink Investment Management Company (“CIM”) is a wholly-owned

   subsidiary of CenturyLink, and operates as in-house investment fiduciary for the various

   employee benefit and welfare plans sponsored by CenturyLink. Movant’s Appx., p. 43 -

   Levy Report, ¶54.

         7.     The Plan is established and maintained by a written plan document as

   required by 29 U.S.C. §1102(a)(1). Dkt. #36, Ex. A-B.

         8.     The Plan is an “employee pension benefit plan” under 29 U.S.C.

   §1002(2)(A), and an “individual account plan” or “defined contribution plan” under 29

   U.S.C. §1002(34). Dkt. #36, Ex. A-B.

         9.     Plaintiff Bonnie Birse is currently a participant in the CenturyLink Plan and

   has been since before 2012 and invested in the 2015 Target Date Fund since 2012. Third

   Amended Complaint (Dkt. #94), ¶¶13, 22.


                                               6
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 7 of 32




          10.    Plaintiff Gerad Detwiler was a participant of the CenturyLink Plan from

   January of 2015 to July of 2017, and invested directly in the Large Cap Fund. Third

   Amended Complaint, ¶¶14, 23.

          11.    The Target Date Funds each had significant holdings in the Large Cap

   Fund. Movant’s Appx., p. 328 - Expert Report of John J. Duval, Jr., dated October 11,

   2019 (“Duval Report”), ¶556; Movant’s Appx., pp. 333, 346 - CL 00015361, CL 00057468.

       B. The Fund’s Structure and Performance
          12.    The Active Large Cap U.S. Stock Fund (“ALCF”) Objective and Fund

   Management was described as follows: “The Active Large Cap U.S. Stock Fund’s

   objective is to exceed the return of a broad market index of the largest 1,000 companies

   in the U.S. using an actively managed multi-manager approach. The managers of the

   Fund seek to add returns above the benchmark through actively selecting stocks and

   favoring investment styles they believe will outperform the benchmark over long periods.”

   Movant’s Appx., p. 219 - Duval Report, ¶89 (citing Movant’s Appx., p. 347 - CL 00000316).

          13.    From inception, the ALCF had a style-based strategy and was expected to

   generate excess returns over one percent annually. Movant’s Appx., pp. 249-250 - Duval

   Report, ¶223 (citing Movant’s Appx., p. 350 - CL 00007437).

          14.    The Large Cap Fund was imprudently designed, in part, because it was

   overdiversified. Movant’s Appx., pp. 239-241 - Duval Report, ¶¶180-188, Chart 10.

          15.    “The overdiversification took two forms: 1) The use of seven different

   managers within the ALCF; and, 2) The large allocation to three “core” managers and the

   index itself.” Movant’s Appx., p. 243 - Duval Report, ¶201.

          16.    “Growth stock investors usually pay a high premium to hold such stocks

   because the market realizes the superior qualities of the company. The assumption behind

   growth stock investing is that the market will continue to reward the superior grower. The


                                                7
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 8 of 32




   key to success for a growth stock manager is realizing when that superior growth pattern

   may deteriorate.” Movant’s Appx., p. 241 - Duval Report, ¶190 (citing Style Investing:

   Unique Insight Into Equity Management; Richard Bernstein; John Wiley & Sons, Inc.; New

   York, 1995; 45-7).

          17.    “[T]he ALCF was, by mandate, to invest in U.S. equities so as to outperform

   the Russell 1000 Index. This eliminated any asset class decision (for example, investing

   in bonds, currencies, or commodities) and also eliminated international equities,” so “there
   were only two significant portfolio management decisions that CIM needed to make at any

   time: 1) The size weighting, and; 2) The style weighting.” Movant’s Appx., pp. 241-242 -

   Duval Report, ¶¶192-193.

          18.    “CIM failed to express meaningful size and style overweights and

   overdiversified the ALCF, to a large degree replicating the Russell 1000 benchmark it was

   tasked with outperforming.” Movant’s Appx., p. 243 - Duval Report, ¶199.

          19.    The Fund design’s overdiversification and extremely high correlation to the

   Russell 1000 made it almost certain that the Fund could not outperform the index.

   Movant’s Appx., p. 247, Duval Report, ¶¶211-214.

          20.    The Large Cap Fund’s fees were 45 basis points, 15 times higher than the

   highly-correlated U.S. Stock Index Fund (3 basis point fees). Movant’s Appx., pp. 247-

   248 - Duval Report, ¶¶215-218 (citing Movant’s Appx., p. 351 - CL 00001637), Chart 14.

          21.    From its inception, the Large Cap Fund underperformed its benchmark on

   rolling one-, three-, and five-year periods. Movant’s Appx., p. 215 - Duval Report, ¶78.

          22.    By the time the Large Cap Fund was eliminated, it had underperformed its

   benchmark in 17 of 21 quarters. Movant’s Appx., pp. 268-269 - Duval Report, ¶299.




                                                8
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 9 of 32




      C. CenturyLink and CIM are Fiduciaries of the Plaintiffs.

          23.     In 2011, CenturyLink appointed CIM as its Plan Investment Fiduciary,

   making CIM a Named Fiduciary. Movant’s Appx., p. 43 - Levy Report, ¶54.

          24.     “CenturyLink retained the non-delegable duty to select an appropriate

   fiduciary to act as an Investment Manager and to monitor the Investment Manager’s

   activities ‘to ensure its activities are in the best interests of the plan participants’ and would

   retain general co-fiduciary responsibility under ERISA.” Movant’s Appx., p. 43 - Levy

   Report, ¶55 (citing Movant’s Appx., p. 360 - Exhibit 6 at CL 00014850; Movant’s Appx.,

   p. 366 - Exhibit 24 at CL 00014856).

          25.     “[W]here a plan sponsor has appointed an investment committee and/or

   administrative committee or has otherwise allocated fiduciary responsibility to a named

   fiduciary for managing the plan’s investments, the plan sponsor (usually through its board

   of directors) has a separate duty to monitor those committees or named fiduciary to

   ensure they are fulfilling their fiduciary responsibilities,” including reviewing committee

   minutes, the Investment Policy Statement (“IPS”), and other records, as well as receiving

   periodic reports or presentations from the committee or named fiduciary. Movant’s Appx.,

   p. 42 - Levy Report, ¶50.

          26.     “To deal prudently with a fund which fails to meet the criteria defined in the

   IPS, a prudently crafted IPS will include procedures to guide the investment committee in

   determining whether to retain, freeze from further contributions, or terminate a fund or

   manager.” Movant’s Appx., p. 41 - Levy Report, ¶48.

          27.     CIM had no written investment policy statement for the 401(k) Plan, and no

   written policies or procedures governing the strategizing, implementation, or monitoring

   of the Plan. Movant’s Appx., pp. 377, 409-410 - Deposition of Kathleen Lutito (Sept. 18-

   19, 2019) (“Lutito”) at 58:11-21, 195:10-196:17.


                                                   9
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 10 of 32




           28.    CenturyLink had the authority to terminate and/or replace the investment

    managers at CIM, or to terminate and/or replace CIM as the investment manager for the

    fund. Movant’s Appx., p. 430-431 - Deposition of Shane Matson (Sept. 12, 2019)

    (“Matson”) at 63:24-64:9; Movant’s Appx., pp. 455-458 - Deposition of Mary Beth Gorrell

    (July 17, 2019) (“Gorrell”) at 90:5-93:5, Movant’s Appx., p. 352 - Exhibit 6; Movant’s Appx.,

    pp. 375-376 - Lutito at 54:21-55:20.

           29.    Key CIM employees share dual positions at both CenturyLink and CIM.
    Movant’s Appx., p. 426 - Matson at 9:12-19, Movant’s Appx., p. 373 - Lutito at 12:5-18,

    Movant’s Appx., pp. 475-476 - Deposition of John Litchfield (Sept. 20, 2019) (“Litchfield”)

    at 12:11-13:25; Movant’s Appx., pp. 440-445 - Gorrell at 23:1-28:7; Movant’s Appx., p.

    352 - Exhibit 6.

           30.    “CIM had two different types of fiduciary duties: 1) Plan-level, which

    concerned the CenturyLink Dollars & Sense 401(k) Plan as a whole and the top-down

    supervision of the entire menu of investment options within the Plan, and; 2) Fund-level,

    which concerned the management of individual investment options within the Plan, such

    as the ALCF.” Movant’s Appx., p. 217 - Duval Report, ¶¶82-83, Movant’s Appx., p. 489 -

    Exhibit 7 at CL 00006661.

           31.    “[U]nder ERISA, the prudent man rule is known as the ‘prudent expert’ rule

    because the standard is not just one of prudence that would be applied by a conscientious

    layman, but prudence applied by an expert in the field, acting in the same position, with

    the same goals.” Movant’s Appx., p. 217 - Duval Report, ¶84.

           32.    The Department of Labor has elaborated on the prudent expert standard,

    writing: “the courts have evaluated the prudence of a fiduciary’s actions under ERISA by

    focusing on the process the fiduciary used to reach its determination or recommendation

    – whether the fiduciary, ‘at the time they engaged in the challenged transactions,


                                                 10
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 11 of 32




    employed the proper procedures to investigate the merits of the investment and to

    structure the investment.’” Movant’s Appx., p. 218 - Duval Report, ¶86 (citing Federal

    Register Vol. 81, No. 68).

           33.   CIM acknowledged that it was held to the “Prudent Man Rule” meaning that

    in creating, offering, and monitoring the Plan it “must act ‘with the care, skill, prudence

    and diligence under the circumstances then prevailing that a prudent man acting in a like

    capacity and familiar with such matters would use in the investment of a fund of like
    character and with like aims.’” Movant’s Appx., p. 217 - Duval Report, ¶¶83-84 (citing

    Movant’s Appx., p. 489 - Exhibit 7).

       D. CenturyLink and CIM Breached their Fiduciary Duty by Not Having Written
          Policies and Procedures in Place to Evaluate the Fund’s Performance
           34.   “Documentation of a 401(k) plan’s investment process is a fundamental best

    practice.” Movant’s Appx., pp. 47-48 - Levy Report, ¶62.

           35.   An Investment Policy Statement “for a predecessor plan was prepared

    bearing a date of December 22, 2010, but an IPS in such form or similar was never

    adopted by the Plan.” Movant’s Appx., pp. 44-45 - Levy Report, ¶57 (citing Movant’s

    Appx., p. 494 - CL00067999; Movant’s Appx., p. 502 - Exhibit 63).

           36.   The establishment of IPS in other predecessor and concurrent plans

    “demonstrates that CIM knew of this best practice but CIM failed to recognize that it

    applied equally to a defined contribution plan such as the Plan.” Movant’s Appx., pp. 44-

    45 - Levy Report, ¶57.

           37.    CIM lacked functional processes for nearly every aspect of designing,

    implementing, monitoring and adjusting the Large Cap Fund. Movant’s Appx., pp. 409-

    410 - Lutito at 195:7-196:17; Movant’s Appx., p. 203 - Duval Report, ¶¶179; 135-148;




                                                11
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 12 of 32




    167-169; 254, 304; 317; 322-323; 330; 358; 385-386; 397; 412-413; 425; 434; 439-441;

    453; 459-489; 503; 525; 530-534; 539; 552-553.

           38.    The lack of functional processes, oversight, and prudent decision-making

    extended to the inclusion of the Large Cap Fund in the Target Date Funds. Movant’s

    Appx., pp. 329-331 - Duval Report, ¶¶559-566.

           39.    CIM’s investment committee kept no official minutes of its meetings.

    Movant’s Appx., p. 394 - Lutito at 99:6-9.
           40.    Mr. Strong, Mr. Matson and Ms. Lutito testified that they focused on

    investment performance over a business or market cycle, but this measure of

    performance is not articulated in the Strategy Summary or in the Investment Management

    Agreements for Cornerstone and Systematic. Movant’s Appx., pp. 59-60 - Levy Report,

    ¶83, Movant’s Appx., p. 537 - Deposition of Paul Strong (July 26, 2019) (“Strong”) at 80:2-

    17; Movant’s Appx., pp. 428-429 - Matson at 51:11-52:13; Movant’s Appx., pp. 420-421 -

    Lutito at 235:24-236:1.

           41.    The underperformance of the Large Cap Fund was of concern to CIM

    because it was a drag on the performance of the Target Date Funds. Movant’s Appx., pp.

    464-467, 469-472 - Gorrell at 113:12-116:13, 194:8-197:6, Movant’s Appx., pp. 411-414

    - Lutito at 224:2-227:24.

           42.    The underperformance of managers in the Large Cap Fund, such as

    Cornerstone, was of concern to Director of Asset Allocation Mary Gorrell because it was

    a drag on the performance of the Target Date Funds. Movant’s Appx., pp. 469-472 -

    Gorrell at 194:8-197:6.

           43.    There are only two documents to detail the process CIM purportedly used

    to design the Fund: 1) The April 29, 2011 one-page backtest summary and accompanying

    charts (Movant’s Appx., p. 573 - CL 00074394-402); and 2) The March 30, 2012 memo


                                                 12
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 13 of 32




    written after the Fund design and introduction as an investment option in the Plan

    (Movant’s Appx., p. 582 - CL 00005102-19). Movant’s Appx., p. 222 - Duval Report, ¶109.

             44.    Mary Gorrell, who had been managing or supervising 401(k) plans for CIM

    since 2010, testified that a range of procedures had been adopted but that she was unable

    to identify specific documentation of the purported procedures. Movant’s Appx., p. 47 -

    Levy Report, ¶61; Movant’s Appx., pp. 439, 459-463 - Gorrell at 12:4-6, 94:22 -98:10.

             45.    “Mr. Paul Strong, Director of Public Markets, confirmed that there was
    nothing written with respect to CIM’s investment process other than a few slides in a

    presentation of ‘Active Management working notes’ relative to the Global Equity

    Program.” Movant’s Appx., p. 47 - Levy Report, ¶61; Movant’s Appx., pp. 514-516 - Strong

    at 35:5-37:7.

             46.    “Kathy Lutito, CIM’s Chief Investment Officer, testified that CIM had no

    written investment policy statement and had no other written policies and procedures for

    the Plan.” Movant’s Appx., p. 47 - Levy Report, ¶61; Movant’s Appx., p. 409 - Lutito at

    195:10-17.

             47.    “The dearth of documents around the ALCF conception and design indicate

    the strategy was largely a creation of Paul Strong with little oversight from CIM.” Movant’s

    Appx., p. 222 - Duval Report, ¶111; Movant’s Appx., pp., 477-481 - Litchfield at 16:14-

    20:22.

             48.    CIM lacked any functional or formal guidelines or processes for how the

    Fund’s strategy was created or implemented in a way that was expected to meet

    benchmarks, how many fund managers were chosen, which fund managers were chosen,

    how managers were monitored, how adjustments were to be made, and how the long-

    term strategy was expected to work over the course of a “market cycle.” Movant’s Appx.,




                                                13
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 14 of 32




    pp. 537-571 - Strong at 80:14-88:23, 95:16-120:7; Movant’s Appx., pp. 378-393 - Lutito

    at 63:5-74:20, 83:6-86:11.

           49.    Neither Lutito nor Strong could articulate any functional or formal guidelines

    or processes for how the Fund’s strategy was created or implemented in a way that was

    expected to meet benchmarks, how many fund managers were chosen, which fund

    managers were chosen, how managers were monitored, how adjustments were to be

    made, and how the long-term strategy was expected to work over the course of a “market
    cycle.” Id.

           50.    “[T]here were no processes or procedures used by CIM to rigorously

    evaluate the original strategy or subsequent change in strategy, the current business,

    market, and economic environment, or how the new strategy would likely perform in the

    anticipated upcoming environment.” “[T]he full magnitude of the strategy change appears

    to have only been known to ALCF manager Paul Strong.” Movant’s Appx., p. 227 - Duval

    Report, ¶¶128-129; Movant’s Appx., pp. 482-485 - Litchfield at 31:25-34:20.

           51.    Given the Fund’s size, and CIM’s scope, virtually the entire universe of

    money managers was available to the Fund, yet only pre-existing managers from the

    other CenturyLink plans were used. Movant’s Appx., p. 231 - Duval Report, ¶¶140-141.

           52.    No documents have been produced relating to any “calls, meetings, site

    visits, and quantitative analysis” as part of the evaluation of prospective or pre-existing

    managers. Movant’s Appx., p. 232 - Duval Report, ¶144.

           53.    No documents have been produced indicating any due diligence was

    conducted into the purported “bench managers” Paul Strong spoke of in deposition.

    Movant’s Appx., p. 232 - Duval Report, ¶145, Movant’s Appx., p. 572 - Strong at 162:4-

    11.




                                                14
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 15 of 32




          54.    There was an artificial limitation of managers to those pre-existing in the

    three plans, representing a flawed investment process that was contrary to industry

    practice and a failure to meet the standard of care of a prudent investment expert.

    Movant’s Appx., p. 232 - Duval Report, ¶148.

          55.    CIM failed to rigorously test the manager lineup they chose to manage the

    Fund’s assets. Movant’s Appx., pp. 232-233 - Duval Report, ¶¶149-154.

          56.    If CIM had rigorously tested the lineup of managers and the strategy of the
    Fund, they would have found it had a very low, almost impossible likelihood of achieving

    the outperformance investment objective. Id.

          57.    Two of the Fund’s managers were seriously underperforming at the time the

    Fund was launched, which should have raised serious concerns about the Fund’s

    strategy. Movant’s Appx., pp. 233-234 - Duval Report, ¶¶155-158 (citing Movant’s Appx.,

    p. 600 - CL 00057086).

          58.    The fact that the Fund launched with underperforming managers and 40%

    of the Fund in the Russell 3000 index was indicative that CIM lacked a process for

    designing, implementing, launching, and overseeing the Fund, or failed to follow any

    process that did exist. Movant’s Appx., pp. 233-234 - Duval Report, ¶¶158-162.

          59.    There was no formal or functional process for Lutito overseeing or

    managing Strong. Movant’s Appx., pp. 400-405 - Lutito at 131:25-136:25.

          60.    Reviews of the Fund strategy should “have been undertaken by someone

    other than fund manager Paul Strong, otherwise it would not be oversight.” Movant’s

    Appx., p. 319 - Duval Report, ¶521.

          61.    “This function likely would have fallen to Kathleen Lutito, the CIM Senior

    Vice President, President, and Chief Investment Officer.” Movant’s Appx., p. 319 - Duval

    Report, ¶522; Movant’s Appx., pp. 395-398 - Lutito at 104:18-107:10.


                                              15
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 16 of 32




          62.    “CIM did not have any rules for flagging a strategy that wasn’t working.”

    Movant’s Appx., p. 320 - Duval Report, ¶523 (citing Movant’s Appx., pp. 390-391 - Lutito

    at 83:25-84:6).

          63.    CIM did not have any formal process or written policies for investment

    strategies, decision-making, or assessing managers. Movant’s Appx., pp. 378-389 - Lutito

    at 63:9-74:20.

          64.    “By failing to undertake meaningful and substantive strategy fit reviews, as
    specified in its own policies and procedures, CIM acted contrary to industry standards

    and failed to meet the standard of care of a prudent investment expert.” Movant’s Appx.,

    p. 320 - Duval Report, ¶528.

          65.    Paul Strong, principally responsible for designing the Large Cap Stock

    Fund, had experience previously concentrated primarily on working with the defined

    benefit plans, and he had not designed any defined contribution plan equity funds prior to

    2012. Movant’s Appx., pp. 52-53 - Levy Report, ¶70; Movant’s Appx., pp. 517-519, 524 -

    Strong at 39:20-41:13, 67:14-20; Movant’s Appx., p. 446 - Gorrell at 34:1-7.

          66.    Paul Strong had unfettered authority to make decisions on strategy and

    implementation, and the hiring/removal of managers in the Fund. Movant’s Appx., pp.

    447-454, Gorrell at 69:24-73:24, 85:19-87:7.

          67.    CIM failed to supervise Paul Strong. Movant’s Appx., pp. 320-327 - Duval

    Report, ¶¶529-552.

          68.    Strong counseled patience and staying the course despite consistent

    underperformance of the Fund. Movant’s Appx., pp. 414-423 - Lutito at 227:6-24, 230:11-

    238:16.

          69.    The CIM equity management process was almost entirely focused on the

    underlying investment managers, with no reflection built in for the fund strategy or fund


                                               16
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 17 of 32




    manager. Movant’s Appx., p. 321 - Duval Report, ¶530, Chart 45 (Movant’s Appx., p. 601

    - CL 00009285).

           70.    Other members of CIM’s Investment Committee routinely deferred to Mr.

    Strong’s judgment on all matters related to the Fund. Movant’s Appx., p. 322 - Duval

    Report, ¶534; Movant’s Appx., p. 468 - Gorrell at 121:1-25; Movant’s Appx., pp. 427, 432,

    435-436 - Matson at 27:7-14, 68:13-19, 156:9-157:3; Movant’s Appx., pp. 486-487 -

    Litchfield at 52:5-53:22, 96:3-15; Movant’s Appx., pp. 395-396, 398-399 - Lutito 104:18-
    105:19, 107:6-108:17.

           71.    Vice President of Investment Management Shane Matson did not do any

    independent analysis of the driver biases presented by Strong to determine whether they

    were sound, nor did he know of anyone else doing so. Movant’s Appx., pp. 433-436 -

    Matson at 69:24-70:22, 156:9-157:3.

           72.    CIM could have given Mr. Strong additional support, but chose not to, as

    Strong and Lutito testified in their depositions. Movant’s Appx., pp. 326-327 - Duval

    Report, ¶¶548-549, Movant’s Appx., p. 406 - Lutito at 144:3-21, Movant’s Appx., pp. 520-

    523 - Strong at 47:5-50:2.

           73.    “[T]he lack of a documented process cast[s] doubt upon the prudence of

    how the Large Cap Stock Fund was constructed.” Movant’s Appx., p. 53 - Levy Report,

    ¶71.

           74.    The lack of a documented process casts doubt “upon the existence, scope

    and application of prudent criteria used to select separate account managers and to justify

    the use of active management strategies.” Id.

           75.    CenturyLink failed to engage in any oversight of CIM. Movant’s Appx., p.

    374 - Lutito at 46:3-19.




                                                17
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 18 of 32




           76.    CenturyLink informed CIM that it favored more active management in the

    Plan, and CIM created the Large Cap Fund with that in mind. Movant’s Appx., pp. 533-

    537 - Strong at 76:10-80:13.

           77.    The strategy for the Active Multi-Manager Funds for the plan which had

    been largely summarized in the Strategy Summary Memorandum of March 30, 2012

    (Exhibit 8), had been influenced by CenturyLink senior management who had “expressed

    a greater appetite for active management.” Movant’s Appx., pp. 49-50 - Levy Report, ¶66.
           78.    “Having allocated investment management responsibility for the Plan to

    CIM as Named Fiduciary, thus giving CIM unfettered discretion in managing the Plan’s

    investments, CenturyLink’s exercise of such influence was contrary to best practice and

    imprudent.” Id. (citing Movant’s Appx., p. 671 - CL 00001366 at CL 00001435, Movant’s

    Appx., p. 360 - Exhibit 6 (Review of Proposed Employee Benefit Plan Governance

    Structure, October 25, 2011) at CL 00014850).

           79.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to adopt

    and apply an investment policy statement (IPS) for the Plan.” Movant’s Appx., p. 28 - Levy

    Report, ¶10a.

           80.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to cause

    CIM to adopt and apply written policies and procedures governing the management of

    the Plan’s investments.” Id. - Levy Report, ¶10b.

           81.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to

    establish prudent documented investment selection criteria, as would be found in an IPS,

    to be applied on a consistent basis to the selection of the Plan’s investments, including


                                                18
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 19 of 32




    the Large Cap Stock Fund, the Target Date Funds and investment managers, particularly

    Cornerstone Investment Partners.” Id. - Levy Report, ¶10c.

           82.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by permitting the

    bias of senior CenturyLink management towards active management to influence their

    investment decisions.” Id. - Levy Report, ¶10d.

           83.    “The Plan fiduciaries did not act in a manner consistent with fiduciary
    prudent practice and the best interest of participants and beneficiaries by adopting active

    investment management strategies without evaluating and justifying the additional cost

    of such strategies in relation to the cost of passive investment strategies.” Id. - Levy

    Report, ¶10e.

           84.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to

    establish prudent written investment monitoring criteria to be applied on a consistent basis

    to the monitoring of the Plan’s investments, including the Large Cap Stock Fund, the

    Target Date Funds, and investment managers, particularly Cornerstone Investment

    Partners.” Id. - Levy Report, ¶10f.

           85.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to

    consistently apply a prudent monitoring process to the Plan’s investments, including the

    Large Cap Stock Fund, the Target Date Funds, and investment managers, particularly

    Cornerstone Investment Partners.” Id. - Levy Report, ¶10g.

           86.    “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to

    evaluate and consider alternative strategies and managers when the Large Cap Stock


                                                19
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 20 of 32




    Fund experienced consistent underperformance relative to applicable benchmarks,

    particularly the Large Cap Stock Fund.” Movant’s Appx., pp. 28-29 - Levy Report, ¶10h.

           87.      “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to cause

    the CIM investment committee to maintain minutes of its meetings or otherwise document

    its deliberations and its reasons for fiduciary decisions.” Movant’s Appx., p. 29 - Levy

    Report, ¶10i.
           88.      “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to adopt

    and consistently apply policies and procedures to address funds or strategies that did not

    meet benchmark expectations or exhibited other shortfalls in relation to selection criteria.”

    Id.- Levy Report, ¶10j.

           89.      “The Plan fiduciaries did not act in a manner consistent with fiduciary

    prudent practice and the best interest of participants and beneficiaries by failing to apply

    prudent monitoring and oversight of the investment activities on behalf of the Plan of

    CIM’s Investment Committee and of CIM.” Id. - Levy Report, ¶10k.

           90.      Because CIM lacked functional investment management and supervisory

    processes, they failed to assess how much risk and deviation from the index was

    necessary to have a reasonable chance of achieving its stated objective. Movant’s Appx.,

    p. 239 - Duval Report, ¶179.

                                    STANDARD OF REVIEW

           Summary judgment is appropriate if there is no genuine issue of material fact and

    the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P 56(a). A dispute

    is “genuine” if the issue could be resolved in favor of either party. See Anderson v. Liberty


                                                 20
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 21 of 32




    Lobby, Inc., 477 U.S. 242, 248 (1986); Alder v. Wal-Mart Stores, Inc. 144 F.3d 664, 670

    (10th Cir. 1998). A fact is “material” if it might reasonably affect the outcome of the case.

    See Id.

           The moving party bears the initial burden of showing an absence of evidence to

    support the non-moving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986);

    Alder, 144 F.3d at 670. “Once the moving party meets this burden, the burden shifts to

    the nonmoving party to demonstrate a genuine issue for trial on a material matter.”

    Concrete Works of Colo., Inc. v. City & Cty. of Denver, 36 F.3d 1513, 1518 (10th Cir.

    1994) (citing Celotex, 477 U.S. at 325). Where the record, taken as a whole, could not

    lead a rational trier of fact to find for the non-moving party, there is no genuine issue for

    trial. See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

    (1986).

                               ERISA’S FIDUCIARY STANDARDS

           Under ERISA, plan participants, beneficiaries, and fiduciaries may “bring actions

    on behalf of a plan to recover for violations of the obligations defined in [29 U.S.C. §

    1109].” LaRue v. DeWolff, Boberg & Assocs., Inc., 552 U.S. 248, 253 (2008) (citing 29

    U.S.C. § 1132(a)(2)). ERISA “ʻimposes a “prudent person” standard by which to measure

    fiduciaries’ investment decisions and disposition of assets.’” Fifth Third Bancorp v.

    Dudenhoeffer, 573 U.S. 409, 419 (2014) (citations omitted). Pursuant to ERISA,

    fiduciaries must discharge their responsibilities “with the care, skill, prudence, and

    diligence” that a prudent person “acting in a like capacity and familiar with such matters

    would use.” 29 U.S.C. §1104(a)(1)(B). A fiduciary is expected to “discharge his duties


                                                 21
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 22 of 32




    with respect to a plan solely in the interest of the participants and beneficiaries and for

    the exclusive purpose of providing benefits to participants and their beneficiaries.” See

    29 U.S.C. §1104(a)(1)(A)(i).

           CIM acknowledged that it was held to the “Prudent Man Rule” meaning that in

    creating, offering, and monitoring the Plan it “must act ‘with the care, skill, prudence and

    diligence under the circumstances then prevailing that a prudent man acting in a like

    capacity and familiar with such matters would use in the investment of a fund of like

    character and with like aims.’” ¶33. Under ERISA, the prudent man rule is known as the

    “prudent expert” rule because the standard is not just one of prudence that would be

    applied by a conscientious layman, but prudence applied by an expert in the field, acting

    in the same position, with the same goals. ¶31. The Department of Labor has elaborated

    on the prudent expert standard, writing: “the courts have evaluated the prudence of a

    fiduciary’s actions under ERISA by “focusing on the process the fiduciary used to reach

    its determination or recommendation – whether the fiduciary, “at the time they engaged

    in the challenged transactions, employed the proper procedures to investigate the merits

    of the investment and to structure the investment.” ¶ 32.

           In evaluating a fiduciary’s compliance with the prudence rule, the “primary question

    is whether the fiduciaries, ‘at the time they engaged in the challenged transactions,

    employed the appropriate methods to investigate the merits of the investment and to

    structure the investment.’” Cal. Ironworkers Field Pension Tr. v. Loomis Sayles & Co.,

    259 F.3d 1036, 1043 (9th Cir. 2001) (citation omitted); see also Bunch v. W.R. Grace &

    Co., 555 F.3d 1, 7 (1st Cir. 2009). “A fiduciary must engage in an objective, thorough, and


                                                22
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 23 of 32




    analytical process that involves consideration of the quality of competing providers and

    investment products, as appropriate.” 72 Fed. Reg. 60453 (October 24, 2007)

    (Preamble).

           A contention that a fiduciary has undergone a robust investigation of an investment

    does, however, not in and of itself relieve the fiduciary of liability if the circumstances

    reflect a breach of duty despite the rigorous investigation. Brotherston v. Putnam Invs.,

    LLC, 907 F.3d 17, 33 (1st Cir. 2018); DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 418

    (4th Cir. 2007); Ellis v. Fid. Mgmt. Tr. Co., 257 F. Supp. 3d 117, 129 (D. Mass. 2017),

    aff’d, 883 F.3d 1 (1st Cir. 2018). Rather, a fiduciary is under a duty to exercise reasonable

    prudence in selecting investments, and this objective reasonableness standard is applied

    to the subjective needs of the fund—the “conduct of an enterprise of a like character and

    with like aims.” 29 U.S.C. § 1104(a)(1)(B); Jenkins v. Yager, 444 F.3d 916, 925 (7th Cir.

    2006); In re Unisys Sav. Plan Litig., 74 F.3d 420, 434 (3d Cir. 1996) (“In addition, the

    prudence requirement is flexible, such that the adequacy of a fiduciary’s independent

    investigation and ultimate investment selection is evaluated in light of the character and

    aims of the particular type of plan he serves.” (quotations and citation omitted)).

           Plaintiffs must show that a proper exercise of procedural prudence—meeting and

    considering the fund’s then-extant investments—would have averted the harm which

    “necessarily require[s] a plausible allegation explaining how no reasonable fiduciary could

    conclude that removing such investments would not be likely to do more harm than good

    to the plan and its participants.” In re SunEdison, Inc. ERISA Litig., 331 F. Supp. 3d 101,

    114 (S.D.N.Y. 2018), aff’d sub nom. O’Day v. Chatila, 774 F. App’x 708 (2d Cir. 2019).


                                                 23
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 24 of 32




    Plaintiffs must allege facts to support the conclusion that CIM would have acted differently

    had they engaged in proper monitoring—and that an alternative course of action could

    have prevented the plan’s losses. Kopp v. Klein, 894 F.3d 214, 221 (5th Cir. 2018).

                                            ARGUMENT

       I.      Element I: CenturyLink and CIM are Plan Fiduciaries

            CIM is a wholly-owned subsidiary of CenturyLink, and operates as in-house

    investment fiduciary for the various employee benefit and welfare plans sponsored by

    CenturyLink. Movant’s Appx., p.683 - CL 00048603; ¶6. Beginning in April 2012, CIM

    began offering a new investment lineup which included a company stock fund and nine

    core investment options (“Core Funds”), including the Active Large Cap U.S. Stock Fund

    (“Large Cap Fund”). ¶5. The Target Date Funds each had significant holdings in the Large

    Cap Fund. ¶11. CIM was well-aware of the Large Cap Fund’s negative performance

    impact on the Target Date Funds. ¶¶41-42.

            The Plan is established and maintained by a written plan document as required by

    29 U.S.C. §1102(a)(1). The Plan is an “employee pension benefit plan” under 29 U.S.C.

    §1002(2)(A), and an “individual account plan” or “defined contribution plan” under 29

    U.S.C. §1002(34). ¶¶7-8. In 2011, CenturyLink appointed CIM as its Plan Investment

    Fiduciary, making CIM a Named Fiduciary. ¶23. CenturyLink retained the non-delegable

    duty to select an appropriate fiduciary to act as an Investment Manager and to monitor

    the Investment Manager’s activities “to ensure its activities are in the best interests of the

    plan participants” and would retain co-fiduciary responsibility under ERISA. ¶24.




                                                 24
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 25 of 32




             Fiduciaries are also under a continuing duty to conduct a regular review of their

    investment decisions and remove those investments which, although perhaps initially

    prudent, have become improper to retain. Tibble v. Edison Int’l, 135 S.Ct. 1823, 1828

    (2015). Under ERISA, a fiduciary “has a continuing duty to monitor [plan] investments and

    remove imprudent ones” that exist “separate and apart from the [fiduciary’s] duty to

    exercise prudence in selecting investments.” Id. If an investment is imprudent, the plan

    fiduciary “ʻmust dispose of it within a reasonable time.ʼ” Id. (citation omitted).

             CenturyLink was a functional fiduciary, with co-fiduciary duty and a duty to monitor

    CIM. CenturyLink had the authority to terminate and/or replace the investment managers

    at CIM, or to terminate and/or replace CIM as the investment manager for the fund.

    Several key CIM employees share dual positions at both CenturyLink and CIM. ¶¶29-30.

    However, CenturyLink failed to engage in any oversight of CIM. ¶¶38, 47, 75, 89.

             Where a plan sponsor has appointed an investment committee and/or

    administrative committee or has otherwise allocated fiduciary responsibility to a named

    fiduciary for managing the plan’s investments, the plan sponsor (usually through its board

    of directors) has a separate duty to monitor those committees or named fiduciary to

    ensure they are fulfilling their fiduciary responsibilities, including reviewing committee

    minutes, the IPS, and other records, as well as receiving periodic reports or presentations

    from the committee or named fiduciary. ¶25.

       II.      Element II: Defendants Breached their Fiduciary Duty to Plaintiffs and
                the Plan

         A. Defendants Breached their Duty by Failing to Have any Formal, Written
            Processes in Place Governing the Administration and Management of the
            Fund.

                                                  25
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 26 of 32




           The Active Large Cap U.S. Stock Fund Objective and Fund Management was

    described as follows: “The Active Large Cap U.S. Stock Fund’s objective is to exceed the

    return of a broad market index of the largest 1,000 companies in the U.S. using an actively

    managed multi-manager approach.” The managers of the Fund seek to add returns above

    the benchmark through actively selecting stocks and favoring investment styles they

    believe will outperform the benchmark over long periods. ¶12.

           Documentation of a 401(k) plan’s investment process is a fundamental best

    practice, yet CIM had virtually no written guidelines or processes governing the

    administration and management of the Fund. ¶¶27, 34, 45-47, 63. CIM had no written

    investment policy statement for the 401(k) Plan, and no written policies or procedures

    governing the strategizing, implementation, or monitoring of the Plan. ¶27. An IPS for a

    predecessor plan was prepared bearing a date of December 22, 2010, but an IPS in such

    form or similar was never adopted by the Plan. ¶35. This demonstrates that CIM knew of

    this best practice but CIM failed to implement it. ¶36.

           There are multiple instances of purported processes with absolutely no written or

    formal process or structure. ¶¶27, 34, 45-47, 63. For instance, CIM’s investment

    committee kept no official minutes of its meetings. ¶39. Further, CIM personnel testified

    that they focused on investment performance over a business or market cycle, but this

    measure of performance is not articulated in the Fund’s Strategy Summary or in

    agreements with Fund managers. ¶40. Kathy Lutito, CIM’s Chief Investment Officer,

    testified that CIM had no written investment policy statement and had no other written

    policies and procedures for the Plan. ¶46.

                                                 26
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 27 of 32




          In fact there are only two documents that even purport to detail the process CIM

    purportedly used to design the Fund: 1) The April 29, 2011 one-page backtest summary

    and accompanying charts, (Movant’s Appx., p. 573 - CL 00074394-402) and; 2) The

    March 30, 2012 memo written after the Fund design and introduction as an investment

    option in the Plan (Movant’s Appx., p. 582 - CL 00005102). ¶43.

          Defendants’ expert Charles Porten concludes that 1) The design and management

    of the Large Cap Fund and Target Date Funds (“the Funds”) were consistent with industry

    standards, and 2) oversight and monitoring of the Funds were consistent with industry

    standards. Movant’s Appx., pp. 693-694 - Expert Report of Charles Porten, dated October

    11, 2019 (“Porten Report”), ¶9. He goes on to describe the “standards of conduct

    expected of investment fiduciaries” according to three different standards. Id., pp. 694-

    698 – Porten Report, ¶¶11-15. However, he does not explain in any detail how or why his

    vague descriptions of Defendants’ conduct conforms to these standards, nor how their

    approach led to “reasonable conclusions,” but rather makes conclusory statements that

    they do without factual support. Further, as described in Plaintiffs’ motion to exclude,

    nearly Porten’s entire report and opinions are improperly based upon his review of an

    attorney-generated document which he did not independently verify.

         B. Defendants Breached their Duty to Plaintiffs and the Plan by Failing to Create
            any Processes or Guidelines to Address the Fund’s Underperformance.

          CIM did not have any rules for flagging a strategy that wasn’t working, nor did they

    have any formal process or written policies for investment strategies, decision-making, or

    assessing managers. ¶¶62-63. By failing to undertake meaningful and substantive



                                               27
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 28 of 32




    strategy fit reviews, CIM acted contrary to industry standards and failed to meet the

    standard of care of a prudent investment expert. ¶64.

           CIM failed to rigorously test the manager lineup they chose to manage the Fund’s

    assets. ¶55. They also lacked functional guidelines for how the Fund’s strategy was

    created or implemented in a way that was expected to meet benchmarks, how many fund

    managers were chosen, which fund managers were chosen, how managers were

    monitored, how adjustments were to be made, and how the long-term strategy was

    expected to work over the course of a “market cycle.” ¶48.

           The lack of a documented process undermines the prudence of how the Large

    Cap Stock Fund was constructed, and casts doubt upon the existence, scope and

    application of prudent criteria used to select separate account managers and to justify the

    use of active management strategies. ¶¶73-74. Because CIM lacked functional

    investment management and supervisory processes, they failed to assess how much risk

    and deviation from the index was necessary to have a reasonable chance of achieving

    its stated objective. ¶90.

           This was a breach of Plaintiffs’ fiduciary duties because a prudent investment

    expert in the field would have had formal processes in place and documentation that could

    ensure effective and prudent decision making.

         C. Defendants Breached their Duty to Plaintiffs and the Plan by Giving Paul Strong
            Excessive Discretion in Management of the Funds, and CenturyLink and CIM
            Failed to Oversee His Management.

           CIM personnel functionally delegated all authority with respect to the Plan and the

    Fund to Paul Strong, CIM’s Investment Manager. ¶¶70-71. There were no policies or


                                                28
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 29 of 32




    procedures in place for other CIM personnel to monitor and evaluate Mr. Strong’s or the

    Fund’s performance. ¶¶59-67.

              Paul Strong operated with unfettered discretion in creating and managing the

    Large Cap Fund. Reviews of the Fund strategy (and therefore of Strong) should have

    been undertaken by someone other than Strong, otherwise it would not be oversight, and

    this function likely would have fallen to Kathleen Lutito, the CIM Senior Vice President,

    President, and Chief Investment Officer. ¶¶60-61. However, no such oversight ever took

    place. ¶¶59-67, 70-71. This is in part because there was no formal or functional process

    for Lutito overseeing or managing Strong. ¶59.

              The other members of CIM’s Investment Committee routinely deferred to Mr.

    Strong’s judgment on all matters related to the Fund. The Investment Committee did not

    do any independent analysis of the driver biases presented by Strong to determine

    whether they were sound ¶¶70-71.

              This constituted a breach of Defendants’ fiduciary duties and led to the imprudent

    design of the Large Cap Fund. It also allowed continued underperformance of the Large

    Cap Fund after Defendants knew, or should have known, that the Plan design was fatally

    flawed.

       III.      Element III: Because Defendants Breached these Duties, Plaintiffs
                 Suffered Damages

              CIM lacked a clear and coherent hierarchy regarding decision-making monitoring

    and oversight and as a result they implemented a flawed design in the Large Cap Fund.

    ¶¶63, 87. They compounded this by stubbornly refusing to adjust their process, in large

    part because of a lack of process to guide the review, analysis, and proper adjustments

                                                  29
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 30 of 32




    necessary in monitoring the Fund’s performance. If there had been proper processes in

    place, the Fund would not have suffered from deficient designs that made the Fund

    virtually certain to underperform. Further, there would have been safeguards in place

    against the flawed design, which could have allowed for an earlier correction and a

    mitigation of Plaintiffs’ damages.

           Plaintiffs’ expert Jeffrey E. Nehls analyzed the estimated losses that Plaintiffs

    suffered due to Defendants’ breaches of their fiduciary duties. His report demonstrates

    that the Fund suffered nearly $47 million in losses compared to if it had simply performed

    at pace with its benchmark index, the Russell 1000. Movant’s Appx., p. 775 - Expert

    Report of Jeffrey E. Nehls, dated October 11, 2019 (“Nehls Report”), p. 5. The Fund

    suffered over $77 million in losses compared to if it had performed 1% above the Russell

    1000, which was its stated objective. Id., p. 777 – Nehls Report, p. 7. Accordingly, the

    estimated damages to Plaintiffs and putative class members range from approximately

    $46,934,500 to $77,242,900 depending on the scenario considered. Id., p. 782 – Nehls

    Report, p. 12.

                                          CONCLUSION

           As demonstrated above, the Court should grant summary judgment in favor of the

    Plaintiffs on all causes of action.

    Respectfully submitted this 19th day of November 2019.

                                          s/ Paul R. Wood
                                          Paul R. Wood
                                          Sean Nation
                                          FRANKLIN D. AZAR & ASSOCIATES, P.C.
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                                               30
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 31 of 32




                                  Aurora, CO 80014
                                  Attorneys for Plaintiffs




                                        31
Case 1:17-cv-02872-CMA-NYW Document 157 Filed 11/19/19 USDC Colorado Page 32 of 32




                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of November 2019, I electronically filed and
    served the foregoing MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO DEFENDANT
    CENTURYLINK INVESTMENT MANAGEMENT COMPANY’S BREACH OF
    FIDUCIARY DUTY FOR FAILURE TO MONITOR with the Clerk of Court using the
    CM/ECF system, which will send notification of such filing to all counsel of record:

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                                               32
